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                                         MERSEREAU SHANNON LLP
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                                        PORTLAND, OREGON 97258·2014
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                              UNITED STATES DISTRICT COURT
                                       DISTRICT OF OREGON
                                       PORTLAND DIVISION

  JOSI HARRISON, by and through her                          Case No. 3:13-cv-01837-ST
  mother and next friend ANNIE
  HARRISON, ALLYSUN HARKLEROAD,                              STIPULATED GENERAL JUDGMENT
  by and through her mother and next friend                     OF DISMISSAL WITH PREJUDICE
  SUNDEE MONHING, and LAURA
  LEFEBVRE, by and through her mother and
  next friend JENNIFER LEFEBRVE, and
  HAILEY WALDEN

                         Plaintiffs,

          v.
  CLATSKANIE SCHOOL DISTRICT #6J, an
  Oregon Public School District;
  JEFF BAUGHMAN, an individual,
                         Defendants.


        Based upon the stipulation of the parties below, it is hereby

        ORDERED and ADJUDGED that the captioned matter be dismissed with prejudice and

without costs or attorney fees to the patties.


       Dated this   c?btday of

                                                   norabie Janice M. Stewart,
                                                 United States District Co mi Judge
Ill
Ill



PAGE 2-        STIPULATED GENERAL JUDGMENT OF DISMISSAL WITH PREJUDICE
                                           MERSEREAU SHANNON LLP
                                       ONE S\V COLUMBIA STREET, SUITE 1600
                                          PORTLAND, OREGON 97258-2014
                                                 (503) 226-6400
        Case 3:13-cv-01837-ST             Document 62            Filed 04/21/15      Page 3 of 3




        IT IS SO STIPULATED:

Dated this 21" day of April, 2015.                      Dated this 21 ' 1 day of April, 2015.

LUNSFORD LEGAL GROUP                                    MERSEREAU SHANNON LLP



       Isl Loren L. LunsfiJrd                                   Isl Karen M Vickers
Loren L. Lunsford, OSB No. 032292                       Karen M. Vickers, OSB No. 913810
Of Attomeys for Plaintiffs, Josi Harrison,              Of Attomeys for Defendant Clatskanie School
Laura Lefebvre and Hailey Walden                        District 6J


Dated this 21' 1 day of April, 2015.

OREGON SCHOOL BOARDS ASSOCIATION


       Isl Haley E. Percell
Haley E. Percell, OSB No. 053457
Of Attomeys for Defendant Jeff Baughman




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